 Case 3:17-cv-00408-MMD-CLB Document 150 Filed 06/27/22 Page 1 of 1

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                 June 27, 2022


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: C.H. Robinson Worldwide, Inc.
          v. Allen Miller
          No. 20-1425
          (Your No. 19-15981)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
